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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11                                                 Case No. EDCV 19-2371 PVC
     JULIANA E., 1
12
13                       Plaintiff,                 JUDGMENT
14          v.
15
     ANDREW M. SAUL, Commissioner of
16   Social Security,
17                       Defendant.
18
19         IT IS ADJUDGED that the decision of the Commissioner is AFFIRMED and that
20   the above-captioned action is dismissed with prejudice.
21
22   DATED: December 30, 2020
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24
                                              PEDRO V. CASTILLO
25                                            UNITED STATES MAGISTRATE JUDGE
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27   1
      The Court partially redacts Plaintiff’s name in compliance with Federal Rule of Civil
     Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
28   Administration and Case Management of the Judicial Conference of the United States.
